        Case 4:21-cv-00222-BRW Document 7 Filed 05/18/21 Page 1 of 1




                    IN THE UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF ARKANSAS
                              CENTRAL DIVISION

KRISTOFER ALLEN BURNSIDE                                                       PLAINTIFF
ADC #658349

VS.                               4:21-CV-00222-BRW

JOHN STALEY, et al.                                                         DEFENDANTS



                                      JUDGMENT

      Based on the order entered today, this case is DISMISSED without prejudice.

      IT IS SO ORDERED this 18th day of May, 2021.

                                          Billy Roy Wilson__________________
                                          UNITED STATES DISTRICT JUDGE
